        Case 1:16-cv-00186-MHC Document 24 Filed 07/05/16 Page 1 of 2




                IN T H E UNITED STATES DISTRICT COURT
              F O R T H E NORTHERN DISTRICT O F G E O R G I A
                            ATLANTA DIVISION

DONALD DORSEY,

      Plaintiff,
                                             C I V I L ACTION F I L E
V.
                                             NO. 1:16-CV-186-MHC
E A S Y T.V. & APPLIANCE
R E N T A L OF G E O R G I A , INC.,

      Defendant.

                                       ORDER

      Before tlie Court is Plaintiff and Defendant's Joint Motion for Approval of

Settlement Agreement and Dismissal of Case with Prejudice (the "Joint Motion")

[Doc. 23].

       The Court reviewed the Settlement Agreement, attached as Exhibit 1 to the

Joint Motion, to determine its adequacy and consistency with the requirements of

the Fair Labor Standards Act ("FLSA"), 29 U.S.C. § 216 (2012). See Lynn's Food

Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982). Based on its review

ofthe parties' Settlement Agreement and the record in this case, the Court

concludes: (1) the terms of the Settlement Agreement for the parties are a fair,

reasonable, and adequate resolution of this action; and (2) the Settlement
        Case 1:16-cv-00186-MHC Document 24 Filed 07/05/16 Page 2 of 2




Agreement is reaciied in an adversarial context where the parties had legal

representation.

      Upon consideration of the Joint Motion, the Court ORDERS that the

payments of the settlement amounts shall be made as provided in the Settlement

Agreement. The costs of litigation, including attorneys' fees, shall be paid as

stated in the Settlement Agreement.

      Accordingly, the Court GRANTS Joint Motion for Approval of Settlement

Agreement and Dismissal of Case with Prejudice (the "Motion") [Doc. 23],

APPROVES the parties' Settlement Agreement, and hereby DISMISSES all

claims in the above-styled action WITH PREJUDICE.

      I T IS SO ORDERED this           day of July, 2016.




                                       MARK H. COHEN
                                       United States District Judge




                                          2
